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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                       Case No. 21-32351 (DRJ)
                                                                 (Jointly Administered)
    LIMETREE BAY SERVICES, LLC, et al. 1

         Debtors.                                                Chapter 11



            GULF OIL LIMITED PARTNERSHIP’S APPLICATION FOR
        ALLOWANCE AND PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM
                      PURSUANT TO 11 U.S.C. 503(b)(9)
         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
         YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
         MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
         PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
         THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
         21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
         STATE WHY THE APPLICATION SHOULD NOT BE GRANTED. IF YOU DO NOT
         FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE APPLICATION AND HAVE
         NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS
         THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
         AT THE HEARING AND MAY DECIDE THE APPLICATION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


         Gulf Oil Limited Partnership (“Gulf”), by and through its undersigned counsel, requests

the entry of an order, pursuant to 11 U.S.C. § 503(b)(9), allowing Gulf an administrative expense

claim in the amount of $35,041.38. In support of its Application, Gulf states as follows:




1
 The Debtors in these Chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
as follows: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree
Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
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                                  JURISDICTION AND VENUE


        1.      On July 12, 2021 (the “Petition Date”), each of the above-captioned debtors

(collectively, the “Debtors”) filed its voluntary petition for relief under chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

Southern District of Texas (the “Court”).


        2.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. § 157 and

1334(b). This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B). Venue is

proper in this District pursuant to 28 U.S.C. § 1408 and 1409.


                                          BACKGROUND


        3.      Gulf supplies refined products such as motor fuels, among other things, for the

petroleum industry. Gulf regularly sold some of these products to Limetree Bay Refining, LLC

(“LTB Refining”) before the Petition Date.


        4.      In the 20 days preceding the Petition Date, LTB Refining received goods that Gulf

sold on credit to LTB Refining in the ordinary course of LTB Refining’s business. Such goods

included #2 ULS Diesel (the “Goods”) and had an aggregate value of $35,041.38, as identified on

the claim summary attached hereto as Exhibit A and the invoices and bills of lading attached hereto

as Exhibit B.


        5.      As of the date of this Application, Gulf has not received payment for the Goods.
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                                      RELIEF REQUESTED


       6.        Gulf respectfully requests that this Court allow Gulf’s administrative expense claim

in the amount of $35,041.38 for the Goods pursuant to section 503(b)(9) of the Bankruptcy Code.


                                       BASIS FOR RELIEF


       7.        Section 503(b)(9) of the Bankruptcy Code provides, in pertinent part, that:


                 After notice and a hearing, there shall be allowed, administrative
                 expenses…[for] the value of any goods received by the debtor within 20
                 days before the date of commencement of a case under this title in which
                 the goods have been sold to the debtor in the ordinary course of such
                 debtor’s business.

       8.        As evidenced by the invoices and bills of lading attached hereto as Exhibit B, during

the 20 days preceding the Petition Date, LTB Refining received from Gulf the Goods valued in

aggregate at $35,041.38. Gulf sold the Goods to LTB Refining on credit in the ordinary course of

LTB Refining’s business, and Gulf has not yet received payment for the Goods. Gulf is accordingly

entitled to an allowed administrative expense claim against LTB Refining in the aggregate amount

of $35,041.38.


       9.        Gulf reserves its right to assert claims against the Debtors for amounts not

contemplated by this Application or allowed by the Court pursuant to section 503(b)(9) and to

amend, modify and/or supplement this request, as appropriate under the circumstances.


       WHEREFORE, Gulf respectfully requests that the Court enter an order substantially in the

form attached hereto as Exhibit C: (i) allowing Gulf’s administrative expense claim in the amount

of $35,041.38 pursuant to section 503(b)(9) of the Bankruptcy Code and (ii) granting such other
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and further relief as may be just and proper under the circumstances.




  Dated: November 15, 2021

                             Respectfully submitted,

                             /s/ Julio Mazzoli___
                             Julio Mazzoli (Pro Hac Vice)
                             Gulf Oil Limited Partnership
                             80 William Street
                             Suite 400
                             Wellesley Hills, MA 02481
                             Tel: (339) 933-7080
                             JMazzoli@GulfOil.com

                             Counsel for Gulf Oil Limited Partnership




                                CERTIFICATE OF SERVICE

I certify that on November 15, 2021, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.


                             /s/ Julio Mazzoli___
                             Julio Mazzoli (Pro Hac Vice)
